               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      Criminal No. 3:03-00117
                                                  )      Judge Trauger
                                                  )
[3] CLAYTON S. RICHARDSON                         )

                                         ORDER

       It is hereby ORDERED that a hearing shall be held on the Superseding Petition to

Revoke Supervision (Docket No. 228) on Thursday, March 20, 2014, at 2:00 p.m.

       It is so ORDERED.

       ENTER this 14th day of March 2014.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




 Case 3:03-cr-00117       Document 232       Filed 03/14/14    Page 1 of 1 PageID #: 215
